Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Arp Family Farms, an Arizona General Partnership

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  P.O. Box 11609
                                  Chandler, AZ 85248
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Maricopa                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Maricopa, Eloy
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Arp Family Farms, an Arizona General Partnership                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Arp Family Farms, an Arizona General Partnership                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Arp Family Farms, an Arizona General Partnership                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 19, 2018
                                                  MM / DD / YYYY


                             X   /s/ Nathan Arp                                                           Nathan Arp
                                 Signature of authorized representative of debtor                         Printed name


                                                                                                          Email Address of debtor
                                 Title   Manager, Ephesians 3:20 Farms, LLC




18. Signature of attorney    X   /s/ Pernell W. McGuire                                                    Date November 19, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Pernell W. McGuire 015909
                                 Printed name

                                 Davis Miles McGuire Gardner, PLLC
                                 Firm name

                                 40 E. Rio Salado Parkway, Suite 425
                                 Tempe, AZ 85281
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (480) 733-6800                Email address      azbankruptcy@davismiles.com

                                 015909 AZ
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Arp Family Farms, an Arizona General Partnership

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 19, 2018                       X /s/ Nathan Arp
                                                                       Signature of individual signing on behalf of debtor

                                                                       Nathan Arp
                                                                       Printed name

                                                                       Manager, Ephesians 3:20 Farms, LLC
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Arp Family Farms, an Arizona General Partnership
 United States Bankruptcy Court for the: DISTRICT OF ARIZONA                                                                                          Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Arizona Machinery                                                                      Disputed                                                                          $56,377.49
 500 N. 11 Mile
 Corner Road
 Casa Grande, AZ
 85194
 Bedminster                                                                             Disputed                                                                          $74,726.00
 Financial Group
 4920 York Road
 Holicong, PA 18928
 Comitz Beethe                                                   Attorney's Fees        Disputed                                                                        $300,000.00
 6720 N. Scottsdale
 Rd.
 Ste. 150
 Paradise Valley, AZ
 85253
 Crop Production                                                                        Disputed                                                                        $197,058.66
 Services, Inc.
 c/o Gammage &
 Burnham, PLC
 Two North Central
 Avenue, 15th Floor
 Phoenix, AZ 85004
 Demaray Harvesting                                                                     Disputed                                                                          $25,000.00
 & Trucking LLC
 15050 Cedar Ave.
 South
 Suite 116-251
 Saint Paul, MN
 55124
 Gerben Boschma                                                  Pre-payment for        Disputed                                                                        $202,065.82
 Dairy                                                           Alfalfa
 8921 West
 Broadway
 Tolleson, AZ 85353
 Great Western Bank                                              Arizona State          Disputed               $12,854,227.29                    Unknown                   Unknown
 P.O. Box 2345                                                   Land Department
 Sioux Falls, SD                                                 Leases; Crops;
 57101                                                           Accounts

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Helena                                                                                 Disputed                                                                          $65,873.20
 PO BOX 742558
 Los Angeles, CA
 90074-2558
 Helena Chemical                                                                                                                                                          $59,508.99
 PO BOX 742558
 Los Angeles, CA
 90074-2558
 McCorriston Miller                                                                     Disputed                                                                            $8,387.27
 Mukai MacKinnion
 PO BOX 2800
 Honolulu, HI
 96803-2800
 Meridian Bank                                                                          Disputed                                                                          $25,000.00
 701 N. Cooper Rd.
 Gilbert, AZ 85233
 Pinal County County                                             Arizona State          Disputed                     $33,612.80                  Unknown                   Unknown
 Treasurer                                                       Land Department
 PO Box 729                                                      Leases
 Florence, AZ 85232
 Senergy Petroleum                                                                      Disputed                                                                          $18,674.54
 622 S. 56th Avenue
 Phoenix, AZ 85043
 Southwest                                                                              Disputed                                                                          $43,830.10
 Amendment, Inc.
 1157 E. Avenida
 Fresca
 Casa Grande, AZ
 85122
 Titan Rentals                                                                          Disputed                                                                          $12,957.35
 1411 N. 27th Ave.
 Phoenix, AZ 85009
 Tulare Ag Products                                                                     Disputed                                                                        $206,986.24
 PO BOX 1859
 Tulare, CA 93275




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                                       District of Arizona
 In re      Arp Family Farms, an Arizona General Partnership                                               Case No.
                                                                                Debtor(s)                  Chapter    11

                                                                                                        Check if this is an
                                                                                                     Amended/Supplemental Mailing List
                                                                                                     (Include only newly added or
                                                                                                     changed creditors.)


                                                           MAILING LIST DECLARATION


            I, the Manager, Ephesians 3:20 Farms, LLC of the partnership named as the debtor in this case, do hereby certify, under

penalty of perjury, that the Master Mailing List, consisting of 2 sheet(s), is complete, correct and consistent with the debtor(s)'

Schedules.




 Date:       November 19, 2018                                       /s/ Nathan Arp
                                                                     Nathan Arp/Manager, Ephesians 3:20 Farms, LLC
                                                                     Signer/Title

 Date: November 19, 2018                                             /s/ Pernell W. McGuire
                                                                     Signature of Attorney
                                                                     Pernell W. McGuire 015909
                                                                     Davis Miles McGuire Gardner, PLLC
                                                                     40 E. Rio Salado Parkway, Suite 425
                                                                     Tempe, AZ 85281
                                                                     (480) 733-6800 Fax: (480) 733-3748




MML_Requirements_8-2018                                                                                                                 MML-3

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ARIZONA MACHINERY
500 N. 11 MILE CORNER ROAD
CASA GRANDE AZ 85194


ARIZONA STATE LAND DEPARTMENT
1616 WEST ADAMS STREET - FIRST FLOOR
PHOENIX AZ 85007


BEDMINSTER FINANCIAL GROUP
4920 YORK ROAD
HOLICONG PA 18928


BENJAMIN REEVES
SNELL & WILMER
400 E. VAN BUREN ST.
PHOENIX AZ 85004


COMITZ BEETHE
6720 N. SCOTTSDALE RD.
STE. 150
PARADISE VALLEY AZ 85253


CROP PRODUCTION SERVICES, INC.
C/O GAMMAGE & BURNHAM, PLC
TWO NORTH CENTRAL AVENUE, 15TH FLOOR
PHOENIX AZ 85004


DEMARAY HARVESTING & TRUCKING LLC
15050 CEDAR AVE. SOUTH
SUITE 116-251
SAINT PAUL MN 55124


GERBEN BOSCHMA DAIRY
8921 WEST BROADWAY
TOLLESON AZ 85353


GREAT WESTERN BANK
P.O. BOX 2345
SIOUX FALLS SD 57101


HELENA
PO BOX 742558
LOS ANGELES CA 90074-2558




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HELENA CHEMICAL
PO BOX 742558
LOS ANGELES CA 90074-2558


MCCORRISTON MILLER MUKAI MACKINNION
PO BOX 2800
HONOLULU HI 96803-2800


MERIDIAN BANK
701 N. COOPER RD.
GILBERT AZ 85233


PINAL COUNTY COUNTY TREASURER
PO BOX 729
FLORENCE AZ 85232


SENERGY PETROLEUM
622 S. 56TH AVENUE
PHOENIX AZ 85043


SOUTHWEST AMENDMENT, INC.
1157 E. AVENIDA FRESCA
CASA GRANDE AZ 85122


TAMALYN LEWIS
3636 NORTH CENTRAL AVENUE, SUITE 700
PHOENIX AZ 85012


TITAN RENTALS
1411 N. 27TH AVE.
PHOENIX AZ 85009


TULARE AG PRODUCTS
PO BOX 1859
TULARE CA 93275




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